Case 2:25-cv-05564-WLH-PD   Document 17-1   Filed 07/16/25   Page 1 of 14 Page ID
                                    #:201




                            Exhibit A
       Case 2:25-cv-05564-WLH-PD                           Document 17-1                Filed 07/16/25              Page 2 of 14 Page ID
                                                                   #:202
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
                    Ted Entertainment, Inc.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:25-cv-05564-WLH-PD
       Alexandra Marwa Saber f/k/a Marwa Talatt                               )
         Abdelmonem p/k/a Denims; Does 1-10
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                           Reddit, Inc.
 To:

                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
              See Attachment



  Place:                                                                                Date and Time:
           Heah Bar-Nissim LLP c/o Parasec, 2804 Gateway Oaks
           Drive, Ste. 100, Sacramento, CA 95833

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Rom Bar-Nissm
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff Ted Entertainment, Inc.                                        , who issues or requests this subpoena, are:
Rom Bar-Nissim; Heah Bar-Nissim LLP; 1801 Century Park East, Suite 2400, Los Angeles, CA 90067;
Email: Rom@HeahBarNissim.com; Tel: (310) 432-2836
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
      Case 2:25-cv-05564-WLH-PD                            Document 17-1                Filed 07/16/25              Page 3 of 14 Page ID
                                                                   #:203
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:25-cv-05564-WLH-PD

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
      Case 2:25-cv-05564-WLH-PD                              Document 17-1                 Filed 07/16/25               Page 4 of 14 Page ID
                                                                     #:204
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 2:25-cv-05564-WLH-PD       Document 17-1     Filed 07/16/25    Page 5 of 14 Page ID
                                        #:205



               ATTACHMENT TO SUBPOENA TO REDDIT, INC.
                                    DEFINITIONS
       1.     The term “ACCOUNT INFORMATION” shall have the same
 meaning as used in REDDIT’S DATA COLLECTION WEBPAGE – i.e., “this
 includes things like your username, avatar, and email address (if you verify your
 account with an email”)
       2.     The term “COMMUNICATION(S)” shall refer to every manner or
 means of disclosure, transfer, transmission, or exchange of information, whether
 orally or by DOCUMENTS and whether face-to-face, in person, in a group, by
 telephone, by letter, facsimile, telex or telecopy, or by any other process, electric,
 electronic or otherwise, and includes any DOCUMENTS as defined herein
 including any medium which abstracts, digests, records, or transcribes any such
 communication, or any subsequent review or discussion of such communication.
       3.     The term “DOCUMENT(S)” shall have the broadest meaning
 permitted by F.R.C.P. Rules 34(a) and 45(a), and shall include, without limitation,
 any tangible record of intelligence or information, whether handwritten, typed,
 printed or otherwise visually or orally reproduced, including information stored on
 magnetic or optical media or in solid state storage devices, notes, drafts, reports,
 films, videotape, drawings, graphs, photographs, illustrations, agreements, letters,
 test data, circuit diagrams, software structure charts, software flow charts, software
 functional specifications, software code, data flow diagrams, hardware schematic
 diagrams, hardware logic diagrams, field maintenance print sets, timing diagrams,
 technical summaries, product description documents, software description
 documents, World Wide Web internet pages (whether archived or current),
 laboratory or engineers’ notebooks, project or progress reports, database
 information, whether for prototypes or production products, and the like that are in
 possession, custody, or control of REDDIT or to which REDDIT otherwise has
Case 2:25-cv-05564-WLH-PD      Document 17-1      Filed 07/16/25   Page 6 of 14 Page ID
                                       #:206



 access. Any such documents bearing on any sheet (front or back), margins,
 attachment, or enclosure thereof, any mark that is not a part of the original text or
 reproduction thereof, is to be considered and produced as a separate document.
       4.     The term “H3SNARK” shall mean the subreddit on REDDIT entitled
 r/h3snark.
       5.     The term “H3SNARK MODS” shall refer to the REDDIT users who
 are MODERATORS of H3SNARK.
    6. The terms “IDENTIFY” and “IDENTIFYING” means:
       (a) when used with respect to a PERSON shall mean providing the
 PERSON’s full name, business and/or residential address and telephone number;
       (b) when used with respect to a DOCUMENT shall mean to IDENTIFY the
 DOCUMENT’S author, signor, sender, addresses and all recipients; to state the
 DOCUMENT’S title, date and number of pages; if the DOCUMENT has been
 produced by any party to this litigation, to state the DOCUMENT’S bates number;
 to describe its subject matter; and to state the DOCUMENT’S present location, the
 name and address of any PERSONS currently having custody or control of it, and
 any other descriptive information necessary to IDENTIFY such DOCUMENT
 sufficiently in a subpoena duces tecum or a request for production; and
       (c) when used with respect to a COMMUNICATION other than a
 DOCUMENT shall mean to IDENTIFY the PERSON making the
 COMMUNICATION, its recipients, and all natural persons who were present at
 the time the COMMUNICATION was made, and to state the date, place and
 subject matter of the COMMUNICATION.
       7.     The term “LOCATION INFORMATION” shall have the same
 meaning as used on REDDIT’S DATA COLLECTION WEBPAGE – i.e., “If you
 decide to share your location with us, we collect that information from your mobile
 device. We may also get your approximate location through your IP address.”
Case 2:25-cv-05564-WLH-PD       Document 17-1     Filed 07/16/25    Page 7 of 14 Page ID
                                        #:207



       8.      The term “MODERATORS” shall have the same meaning as used by
 REDDIT on the webpage entitled “What’s a moderator?” located at:
 https://support.reddithelp.com/hc/en-us/articles/204533859-What-s-a-moderator
       9.      The terms “PERSON” and “PERSONS” mean and include natural
 persons and, without limitation, companies, firms, associations, proprietorships,
 partnerships, joint ventures, agencies, consortiums, associations, societies,
 corporations, and other legal entities, as well as their parents, subsidiaries, and
 affiliates, and all divisions, departments and units of any of them.
       10.     The term “PERSONAL IDENTIFYING INFORMATION” shall mean
 ACCOUNT INFORMATION, LOCATION INFROMATION, TRANSACTIONAL
 INFORMATION and USAGE INFORMATION.
       11.     The term “REDDIT” shall mean third-party Reddit, Inc. and/or
 anyone acting on its behalf, including employees, attorneys, insurance companies,
 accountants, investigators, representatives, parent companies, business entities and
 any other PERSON or entity acting on its behalf.
       12.     The term “REDDIT’S DATA COLLECTION WEBPAGE” shall mean
 the webpage entitled “What information does Reddit collect about me and my
 account” and located at: https://support.reddithelp.com/hc/en-
 us/articles/360043048412-What-information-does-Reddit-collect-about-me-and-
 my-account.
       13.     The term “TRANSACTIONAL INFORMATION” shall have the
 same meaning as used on REDDIT’S DATA COLLECTION WEBPAGE – i.e.,
 “billing information such as your name, address, payment type, and purchase
 details.”
       14.     The term “USAGE INFORMATION” shall have the same meaning as
 used on REDDIT’S DATA COLLECTION WEBPAGE – i.e., “data about how you
 access and use Reddit such as your login and IP information, browser type,
Case 2:25-cv-05564-WLH-PD       Document 17-1    Filed 07/16/25   Page 8 of 14 Page ID
                                        #:208



 operating system, device and search terms.”
        15.   As used herein, the connectives “and” and “or” shall be construed
 either disjunctively or conjunctively so as to acquire the broadest possible
 meaning.
        16.   As used herein, the terms “any,” “all,” and “each” shall be construed
 as “any, all, and each” inclusively.
        17.   As used herein, the use of the singular form of any word shall include
 the plural and vice versa.
        18.   Masculine forms of any noun or pronoun shall embrace and be read to
 include the feminine or neuter, as the context may make appropriate.
                                  INSTRUCTIONS
        A.    REDDIT shall quote each Subpoenaed Documents and Information
(“Request”) in full immediately preceding the statement of any answer, response, or
objection thereto.
        B.    Each Request solicits all information obtainable by REDDIT,
including its attorneys, investigators, agents, employees and representatives.
        C.    Pursuant to Federal Rule of Civil Procedure (“F.R.C.P.”) Rules
34(b)(2)(B) and 45(d)(2)(B), each Request must be responded to separately and state
whether: (1) REDDIT will allow inspection or related activities in response to the
Request; (2) REDDIT will produce copies or of electronically stored information
instead of inspection in response to the Request; or (3) an objection to the Request.
        D.    Pursuant to F.R.C.P. Rules 34(b)(2)(B) and 45(d)(2)(B), an objection
to any Request must state with specificity the grounds for objecting to the Request,
including the reasons. Pursuant to F.R.C.P. Rule 34(b)(2)(C), REDDIT must specify
whether any responsive materials to a Request are being withheld on the basis of
said objection. General, boilerplate or conclusory objections are not proper
Case 2:25-cv-05564-WLH-PD        Document 17-1     Filed 07/16/25    Page 9 of 14 Page ID
                                         #:209



objections and shall be disregarded. U.S. ex rel. O’Connell v. Chapman University,
245 F.R.D. 646, 650 (C.D. Cal. 2007).
         E.    Pursuant to F.R.C.P. Rule 34(b)(2)(C), if a Request is objected to only
in part, the objection must specify which part and permit inspection or produce
documents as to the remainder of the Request.
         F.    Pursuant to F.R.C.P. Rule 34(b)(2)(D), if the objection is to the form
for producing electronically stored information or if no form is specified in the
Request, the response to the Request must state the form or forms to be produced.
         G.    Pursuant to F.R.C.P. Rules 34(b)(2)(E)(i) and 45(e)(1)(B), all
DOCUMENTS or electronically stored information must be produced as they are
kept in the usual course of business or must be organized and labeled to correspond
to the categories in the Request.
         H.    Pursuant to F.R.C.P. Rule 34(b)(2)(E)(ii), if a Request does not specify
a form for producing electronically stored information, such information must be
produced in a form or forms which the information is ordinarily maintained or in a
reasonable usable form or forms.
         I.    Where a claim of privilege, immunity, or other protection from
discovery (collectively, “Privilege”) is asserted in objecting to any Request or any
portion thereof, REDDIT shall furnish the following information for each such
claim:
               1.     The nature of the Privilege (including work product) that is
         being claimed, and, if the Privilege is being asserted in connection with a
         claim or defense governed by state law, indicate the state’s Privilege rule
         being invoked;
               2.     The Request or specific portion of the Request to which the
         assertion of Privilege relates;
               3.     If the Privilege is being asserted for a particular
Case 2:25-cv-05564-WLH-PD       Document 17-1 Filed 07/16/25        Page 10 of 14 Page
                                     ID #:210



        COMMUNICATION, a description of the COMMUNICATION, including:
                     a.     the date of the COMMUNICATION or disclosure;
                     b.     IDENTIFY the PERSONS involved in the
              COMMUNICATION, including without limitation, the PERSONS’
              names, addresses, employments, and titles;
                     c.     IDENTIFY where/how the COMMUNICATION
              occurred, including the specific location where the
              COMMUNICATION occurred and/or medium of the
              COMMUNICATION; and
                     d.     a summary of the COMMUNICATION’S subject
              matter.
              4.     If the Privilege is being asserted for a particular DOCUMENT,
        a description of the DOCUMENT, including:
                     a.    the date of the DOCUMENT;
                     b.    IDENTIFY the PERSON who authored or prepared of
        the DOCUMENT, including without limitation, the PERSON’S name,
        address, employment, and title;
                     c.    IDENTIFY each PERSON who has sent or had access to
        or custody of the DOCUMENT, together with an identification of
        employment of each said PERSON;
                     d.    the location of the DOCUMENT; and
                     e.    a summary of the DOCUMENT’S subject matter.
        J.    If any DOCUMENT or thing otherwise responsive to any Request has
been lost, discarded, or destroyed since its preparation or receipt, SERVICE shall
IDENTIFY, as completely as possible, the DOCUMENT or thing, state the Request
to which it would be responsive, and give full particulars or circumstances under
which the DOCUMENT or thing was lost or destroyed, including, without
Case 2:25-cv-05564-WLH-PD          Document 17-1 Filed 07/16/25     Page 11 of 14 Page
                                        ID #:211



limitation, each DOCUMENT’S date, the general nature of the DOCUMENT (e.g.,
letter, memorandum, telegram, etc.), the subject matter of the DOCUMENT, each
PERSON who authored the DOCUMENT, each PERSON indicated as an addressee
or copy recipient, or known by REDDIT to have received a copy of the
DOCUMENT or thing, and the DOCUMENT’S former custodians. In addition, as
to each such DOCUMENT or thing, the following information shall be supplied:
              1.      date of disposal, loss, or destruction;
              2.      manner of disposal, loss, or destruction;
              3.      reason for disposal or destruction, or an explanation of the loss;
              4.      IDENTIFY the PERSON(S) authorizing the disposal or
       destruction;
              5.      IDENTIFY the PERSON(S) having knowledge of the disposal,
       loss, or destruction; and
              6.      IDENTIFY the PERSON(S) who destroyed, lost, or disposed of
       the DOCUMENT or thing.
       K.     If, in responding to any of these Requests, REDDIT encounters any
ambiguity in construing either the Request, a definition, or an instruction, REDDIT
shall state with specificity the matter deemed ambiguous and identify the
construction chosen or used is responding to the Request. Gilbert v. Citigroup, Inc.,
2009 WL 10692463, *7 (N.D. Cal., Apr. 2, 2009); Minna v. Rowley, 2022 WL
3636364, *3 (E.D. Cal., Aug. 23, 2022); Pulsecard, Inc. v. Discover Card Services,
Inc., 168 F.R.D. 295, 310 (D. Kan. 1996).
       L.     In producing material responsive to these Requests, REDDIT shall
produce all material within its possession, custody or control – which extends not
only to information within its immediate knowledge or possession – but includes an
affirmative duty to seek that information reasonably available to it from its
employees, agents, or other subject to its control. Rogers v. Giurbino, 288 F.R.D.
Case 2:25-cv-05564-WLH-PD        Document 17-1 Filed 07/16/25        Page 12 of 14 Page
                                      ID #:212



469, 485 (S.D. Cal. 2012). Where no responsive information is within REDDIT’S
possession, custody or control, REDDIT must state with sufficient specificity under
oath the steps taken to conduct a reasonable inquiry and exercise due diligence. Id.
        M.    Any objection to a Request on the grounds that such information is in
the possession of the requesting party is improper. Bretana v. Int’l Collection Corp.,
2008 WL 4334710, *4 (N.D. Cal., Sept. 22, 2008); Brotherhood Mutual Insurance
Co. v. Vinkov, 2020 WL 6489326, *6 (C.D. Cal., Oct. 5, 2020).
        N.    Pursuant to F.R.C.P. Rule 26(e), these Requests shall be deemed
continuing and supplemental answers shall be required if REDDIT directly or
indirectly obtains further information after his initial response.
        O.    Any objection to a Request on the grounds that “discovery is
ongoing” is improper. Rather, REDDIT must respond and supplement its responses
should discovery alter its response. See MCC Controls v. Hal Hays Construction,
2020 WL 6034321, *3 (C.D. Cal. Jul. 23, 2020); DIRECTTV, Inc. v. Puccinelli, 224
F.R.D. 677, 689 (D. Kan. 2004); F.R.C.P. Rule 26(e).
        P.    Any objection to a Request on the grounds that producing responsive
information to a Request is overly burdensome must state with specificity the
reasons why producing such information to the Request is overly burdensome. L.A.
Terminals, Inc. v. United National Insurance Co., 340 F.R.D. 390, 397 fn. 2 (C.D.
Cal. 2022); Shaw v. Experian Information Solutions, Inc., 306 F.R.D. 293, 301 (S.D.
Cal. 2015); In re Subpoena Duces Tecum, 451 B.R. 823, 831 (C.D. Cal. 2011).
              SUBPOENAED DOCUMENTS AND INFORMATION
 SUBPOENAED DOCUMENTS AND INFORMATION NO. 1:
        All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
 IDENTIFYING INFORMATION of REDDIT user u/ozempicdealer.
 SUBPOENAED DOCUMENTS AND INFORMATION NO. 2:
        All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
Case 2:25-cv-05564-WLH-PD   Document 17-1 Filed 07/16/25   Page 13 of 14 Page
                                 ID #:213



IDENTIFYING INFORMATION of REDDIT user u/h3snarkmodteam.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 3:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/h3snarkmodteam2.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 4:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/RomanPeee.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 5:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/Right_Salamander.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 6:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/kavkav2.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 7:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/h3snarkmodteam3.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 8:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/Wrong_Salamanderr.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 9:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/Right_Salamanderr.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 10:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/PurePress.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 11:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
Case 2:25-cv-05564-WLH-PD   Document 17-1 Filed 07/16/25   Page 14 of 14 Page
                                 ID #:214



IDENTIFYING INFORMATION of REDDIT user u/KitchenMukbangStar.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 12:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/sarahornejewetts.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 13:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/jewettsarahorne.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 14:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of REDDIT user u/jewettornesarah.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 15:
      All DOCUMENTS and COMMUNICATIONS containing the usernames of
the H3SNARK MODS who were MODERATORS of H3SNARK from January 1,
2025 through February 28, 2025.
SUBPOENAED DOCUMENTS AND INFORMATION NO. 16:
      All DOCUMENTS and COMMUNICATIONS containing the PERSONAL
IDENTIFYING INFORMATION of the H3SNARK MODS who were
MODERATORS of H3SNARK from January 1, 2025 through February 28, 2025.
